

People v Thomakos (2024 NY Slip Op 50268(U))



[*1]


People v Thomakos (Stylianos)


2024 NY Slip Op 50268(U)


Decided on March 15, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on March 15, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Tisch, J.P., James, Perez, JJ.



570325/17

The People of the State of New York, Respondent,
againstStylianos Thomakos a/k/a Stylianos Thomaskos, Defendant-Appellant.




In consolidated criminal proceedings, defendant appeals from two judgments of the Criminal Court of the City of New York, Bronx County (Robert G. Seewald, J.H.O), each rendered March 29, 2017, convicting him, upon his pleas of guilty, of unlicensed driving, and imposing sentence.




Per Curiam.
Judgments of conviction (Robert G. Seewald, J.H.O.), each rendered March 29, 2017, affirmed.
Although defendant's waiver of his right to appeal was invalid, he is not entitled to waiver of the fines and surcharges in the interest of justice pursuant to the Driver's License Suspension Reform Act (DLSRA). The DLSRA does not apply retroactively to defendant who was convicted before the statute's enactment (see People v Castro, — AD3d &amp;mdash, 2023 NY Slip Op 06452 [2023]; People v Urena, 80 Misc 3d 129[A], 2023 NY Slip Op 50981[U][App Term, 1st Dept 2023], lv denied 40 NY3d 1041 [2023]; People v Onwuanaibe, 76 Misc 3d 132[A], 2022 NY Slip Op 50910[U][App Term, 2d Dept, 2nd, 11th &amp; 13th Jud Dists 2022], lv denied 39 NY3d 964 [2022]).
Absent extraordinary circumstances, we decline to vacate the convictions in the interest of justice (see People v Marshall, 106 AD3d 1, 11 [2013], lv denied 21 NY3d 1006 [2013]). 
We perceive no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concurI concurI concur
Decision Date: March 15, 2024









